Case 2:05-cr-20018-SH|\/| Document 35 Filed 07/25/05 Pagelon Pa |D 40

 

IN THE UNITED sTATES DISTRICT coURTHEDBY--- '-"""M`
FOR THE wEsTERN DISTRICT oF TENNESSEE ~
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UNITED sTATEs oF AMERICA, MU.S‘DBTRETM
WDOFTN,MEM
vs. No. 05-20018-Ma

STEVE COOPER ,

Defendant.

 

ORDER GR.ANTING MO'I‘ION TO WITHDRAW AND
REFERRING MA'I"I'ER TO MAGISTRATE JUDGE FOR APPOINTMEN'I' OF COUNSEL

 

Before the court is the July 12, 2005, motion to Withdraw
filed by Jake Erwin, defendant’s appointed counsel. For good
cause shown, the motion is granted and Mr. Erwin is allowed to
withdraw from representing the defendant in this matter. The
matter is referred to the magistrate judge for appointment of new
counsel for the defendant pursuant to the Criminal Justice Act.

It is so oRDERED this il'°'“A<ilay of July, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRIC'I‘ JUDGE

 

Th`ls docl_ment entered on the docket sheeti comp1ia ce
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Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
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Doris A. Randle-Holt

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

1\/lemphis7 TN 38103

Lorraine Craig

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Jacob E. ErWin
WAGERMAN LAW FIRM
200 Jefferson Avenue

Ste. 13 13

1\/lemphis7 TN 38103

Honorable Samuel Mays
US DISTRICT COURT

